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                                    STATEMENT OF FACTS

         I, Rakesha Darden, am a Special Agent with the Federal Bureau of Investigation assigned
to the Norfolk Field Office Joint Terrorism Task Force (JTTF). In my duties as a Special Agent, I
investigate    crimes committed      by Racially Motivated       Violent Extremists       (RMVE) ,
Antigovernment Violent Extremists (AGVE), and other Domestic Terrorism related matters. I
have participated in procuring and executing arrest warrants of persons committing federal
violations and search warrants involving the search and seizure of multiple types of evidence to
include electronic communications, digital devices, social media accounts, cell cite data, and geo-
location data. Currently, I am tasked with, among other duties, investigating criminal activity in
and around the Capitol grounds on January 6, 2021. As an FBI Special Agent, I am authorized by
law or by a Government agency to engage in or supervise the prevention, detection, investigation,
or prosecution of a violation of Federal criminal laws.

        The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification were allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the United
States Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session,
elected members of the United States House of Representatives and the United States Senate were
meeting in separate chambers of the United States Capitol to certify the vote count of the Electoral
College of the 2020 Presidential Election, which had taken place on November 3,2020. The joint
session began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the
House and Senate adjourned to separate chambers to resolve a particular objection. Vice President
Mike Pence was present and presiding, first in the joint session, and then in the Senate chamber.

        As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol Police
attempted to maintain order and keep the crowd from entering the Capitol; however, around 2:00
p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking windows
and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged and
assisted those acts.

        Shortly thereafter, at approximately 2:20 p.m. members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to--and did---evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice


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President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

        During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
violations oflocal and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there and assaulting Federal Law Enforcement Officers.


                    JARED MILLER'S         Participation on January 6, 2021

        During this investigation, I have located and reviewed open-source media, Metropolitan
Police Department body worn camera (BWC), and United States Capitol close circuit television
(CCTV) which captured the movements of JARED MILLER on January 6, 2021. MILLER
(circled in yellow) traveled to Washington, D.C. and attended former President Donald Trump's
'Stop the Steal' rally. MILLER can be seen wearing a black jacket, blue jeans, hiking boots, a
backpack, and a royal blue gator around his neck (Image 11).




1Available at timestamp 1:11 at https ://www.youtube.comlwatch     ?v=B5U gEvgfW 4c&t=71 s
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             After the rally, MILLER walked to the United States Capitol Building and entered the
    restricted grounds on the west side of the Capitol (Image 22) where he joined a mob that had broken
    through multiple barriers and police lines.




                                                Image 2


         The mob became increasingly hostile towards United States Capital Police (USCP)
officers, pushing officers back to the base of the Inaugural Stage. MILLER emersed himself in
this group and can be seen wearing a pink gas mask in addition to the black jacket, blue jeans,
shoes, and backpack (Image 33 and 44).




2 Available at https:llwww.youtube.comlwatch?v=St9       -eq6dE8&t=385s (timestamp 6:25).
3 Available at
https:llia804500.us.archive.org/31/items/vseRnzpY    xefozs Y7Z/vseRnzp Yxefozs Y7Z.mpeg4
(timestamp 1:36).
4 Available at

https:/ lia804500.us.archive.org/23/items/6u8pBg4eDOBThpyoaIFB         20210106 135438.mpeg4
(timestamp 30:15).

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                                     Assault Information

        At approximately 1:12 p.m., several units of Metropolitan Police Department (MPD)
officers arrived at the West Plaza to assist USCP officers in crowd control. MILLER and other
rioters were held back behind bike rack barriers as MPD and USCP set up a line, on the south side
of the West Plaza area, in a 'U' shape to prevent rioters from advancing.

        At approximately 1: 14 p.m., rioters are captured on MPD body worn camera (BWC)
pulling away a barrier as MILLER watches (Image 5).

                                                                                            As




                                             Image 5




                                               5
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            Assault Against MPD O(ficers on the North End ofthe Line at 1: 16 p.m.

        At approximately 1:16 p.m., the north side of the police line is breached by rioters. CCTV
captured MILLER joining this breach, first pushing an unidentified MDP officer (Image 6) and
then shoving MPD Officer O.F. as he attempts to rejoin the police line (Image 7).




                                            Image 6




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                                        Image 7

As MPD and USCP resestablished the line, MILLER can be seen giving officers the middle fmger at
approximately 1:18 p.m. (Image 8).




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                       Assault ofMPDAND     USCP Officers at 1:22 p.m.

        At 1:21 p.m., MILLER is seen on Bwe dragging a bike rack away from the northern side
of the usep and MPD line (Image 9). The barrier is absorbed into the mob.




                                        Image 9


        At 1:22:30 p.m., MILLER reengaged with the northern end of the police line. MILLER is
captured on eeTV and in open-source video hitting both usep and MPD officers (Image 105)
then MILLER drove barricades back into multiple officers at 1:22:40 p.m. (Image 116).




5 Available  at
https:llia904508.us.archive.org/23/items/ZHmrrwZep8ftWW2jg/lnside       the 2021 Storming .mp
eg4 (timestamp 25 :30)
6 Available at https:llwww.youtube.comlwatch?v=XE30p        eyyss&t=183s (timestamps 3:03)
                                             8
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                                                  Image 10




                                                     Image 11


      MILLER then grabs an adjacent barricade at 1:22:52 p.m., ripping it from unidentified
MPD and usep officers who are pulled away with the barrier before regaining control (Image
127).




7https://www.inquirer.com/photo/pro-trump-insurrectionists-storm-us-capitol-causing-Iockdown-delay-election-
certification-photos-20210106.html

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                           Image 12




                               10
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                  Assault o(MPD and USCP at Approximately               1:27 p.m.
        MPD officers' BWC capture MILLER repeatedly pushing barriers into MPD and USCP
officers from 1:27:12 through 1:28 p.m. (Image 13, 14, and 158)




                                     Image 13




                                                ttps:/ /vi deo.parler    .com/F a/Sa/FaSakrU   6J gKT. m p4

                                         11
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                                            Image 15


       MILLER is also captured on BWC reaching over the barriers to hit officers before walking
away from that portion of the police line (Images 16 and 17).




                Image 16                                                    Image 17




                                              12
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                              Assault o(MPD Officers at 1:29 p.m.

        MILLER eventually walked to the center of the West Plaza police line. At 1:29:18 p.m.,
MILLER is captured on MPD Officer J.R.'s BWC tossing a water bottle at MPD officers (Image
18) before walking away and removing his gas mask (Image 199).




                                        Image 19

9 Available   at https://www.youtube.com!watch?v=DHessyWYXgM&t=958s       (timestamp 15:58).
                                              13
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      MILLER remained on the restricted grounds, eventually making his way onto the Lower
West Terrace after the West Plaza police line was overrun at approximately 1:36 p.m. (Image
                                           -.;




                                                         Image 20

                                                        IDENTIFICATION

       In late January 2021, JARED MILLER was listed as BOLO 151-AFO. Below are the
photos of BOLO 151-AFO on fbi.gov (Image 21):




                                           Photograph    #151 • AFO B   Photograph   #151 - AFO A




               Photograph   #151 • AFO C


                                                    I Image 21

10 Available at https://archive.orgldownloadlSQ6v                  JnMDWpyQGfaeS173416671           0869798.mpeg4
(timestamp 31 :35).

                                                              14
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       Investigation led to MILLER's Instagram and Facebook accounts. A review of the accounts
was conducted and identified recent photos of MILLER from Instagram (Image 22) and Facebook
(Image 23) that appeared visually like MILLER did on January 6,2021.


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      Image 22                                                          Image 23


         On or about September 21, 2022, an interview was conducted with an individual known to
 have been associated with MILLER (Witness # 1). Witness # 1 first met Miller in or around January
 2020. Through March and April of2020, Witness #1 saw MILLER several more times, and more
 frequently the following months. Witness #1 observed MILLER present several times at various
protests in Richmond, Virginia. Witness #1 identified MILLER as being a member of the
Constitutional Defense League (CDL). Witness #1 further identified MILLER's role in the CDL
as a trainer, focused on training members of the CDL to become "sharpshooters" and host firearms
related trainings. During the interview, Witness #1 was shown several photos of MILLER,
including photos from January 6, 2021. Initially, Witness #1 did not recall the name of MILLER,
but did recognize MILLER within the first three photos. Witness #1 then recalled MILLER's name
as "JARED MILLER." During a follow up interview on or about October 7, 2022, Witness #1,
positively identified MILLER in photos (four of which are shown below) and stated he specifically
recognized the pink gas mask from prior interactions with MILLER.




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        Based on the foregoing, your affiant submits that there is probable cause to believe that
JARED MILLER violated 18 U.S.C. § l752(a)(I), (2) AND (4), which makes it a crime to (1)
knowingly enter or remain in any restricted building or grounds without lawful authority to do;
(2) knowingly, and with intent to impede or disrupt the orderly conduct of Government business
or official functions, engage in disorderly or disruptive conduct in, or within such proximity to,
any restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; and (4) knowingly engages in any
act of physical violence against any person or property in any restricted building or grounds; or
attempts or conspires to do so. For purposes of Section 1752 of Title 18, a "restricted building"
includes a posted, cordoned off, or otherwise restricted area of a building or grounds where the
President or other person protected by the Secret Service, including the Vice President, is or will
be temporarily visiting; or any building or grounds so restricted in conjunction with an event
designated as a special event of national significance.

        Your affiant submits there is also probable cause to believe that JARED MILLER violated
40 U.S.C. § 5104(e)(2)(E) and (F), which makes it a crime to willfully and knowingly (E) obstruct,
or impede passage through or within, the Grounds or any of the Capitol Buildings; and (F) engage
in an act of physical violence in the Grounds or any of the Capitol BUildings.

         Your affiant further submits that there is probable cause to believe that JARED MILLER
violated 18 U.S.C. § §111 (a)(I)- which makes it a crime to forcibly assault, resist, oppose, impede,
intimidate, and interfere with, an officer and employee of the United States, and of any branch of
the United States Government (including any member of the uniformed services), and any person
assisting such an officer and employee, while such officer or employee was engaged in or on
account of the performance of official duties, and where the acts in violation of this section involve
physical contact with the victim and the intent to cornmit another felony. For purposes of Section
111 of Title 18, persons "assisting" federal officers or employees include the MPD Officers who
were assisting U.S. Capitol Police and other federal law enforcement officers in responding to the
events of January 6,2021.

        Finally, your affiant further submits there is probable cause to believe JARED MILLER
violated 18 U.S.C. § §231 (a)(3), which makes it unlawful to commit or attempt to commit any act
to obstruct, impede, or interfere with any fireman or law enforcement officer lawfully engaged in
the lawful performance of his official duties incident to and during the commission of a civil
disorder which in any way or degree obstructs, delays, or adversely affects commerce or the
movement of any article or commodity in commerce or the conduct or performance of any
federally protected function. For purposes of Section 231 of Title 18, a federally protected function
means any function, operation, or action carried out, under the laws of the United States, by any
department, agency, or instrumentality of the United States or by an officer or employee thereof.
This includes the Joint Session of Congress where the Senate and House count Electoral College
votes.




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                                                    Respectfully submitted,




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                                                    Rakesha Darden
                                                                                       -
                                                    Special Agent
                                                    Federal Bureau of Investigation
Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 17th day of August 2023.



                                                    MOXILA A. UPADHYAYA
                                                    U.S. MAGISTRATE JUDGE




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